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IN THE UNITED STATES DISTRICT COURT
' FOR THE DISTRICT OF ALASKA

PATHFINDER AVIATION, INC., Case No. 3:15-cv-00200-HRI-I
Plaintiff,
DEFENDANTS’ MOTION
V- TO DISMISS CERTAIN
COUNTS PURSUANT TO
SCOTT GRIFFITH’ sTRIKE PRAYER FoR
PUNITIVE DAMANGES
Defendants.

 

 

Defendants XTO Energy, Inc. and Scott Griffith, by and through their
undersigned counsel of record, hereby move pursuant to Federal Rule of Civil
Procedure 12(b)(6) to dismiss the following causes of action brought by Plaintiff
Pathfinder Aviation, Inc.:

¢ As against Defendant Scott Grifflth, dismissal of all Plaintiff’s
contract-based claims including, Count I (Breach of Contract), Count II
(Breach of Quasi-Contract), and Count III (Promissory Estoppel).

0 AS against both Defendants XTO Energy, Inc. and Scott Grifflth,
dismissal of Count IV (Breach of Covenants of Good Faith and Fair

Defena'ants ’ Motion to Dl'sml'ss Certain Pathfinder Aviatl'on, Inc. v.
Counts Pursuant to FRCPI2(b)(6) and to XTO Energy Inc., et al.
Strike Prayerfor Punitive Damages Case No. 3:15-cv-00200-HRH
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Dealing), Count V (Misrepresentation) and Count VI (Violation of
Unfair Trade Practices Act).

Defendants further move to strike Plaintift`s prayer for punitive damages
because there are no viable claims for Which punitive damages are available.
Defendants’ motion is supported by the memorandum filed herewith.

Respectfully submitted this 20th day of November, 2015 at Anchorage,

 

Alaska.
oLEs MoRRIsoN RINKER & BAKER LLP
By: s/Barat M. LaPorte
Barat M. LaPorte, ABA No. 951 1064
Attorneys for Defendants XI1 0 Energy Inc.
and Scott Grz'jith
CERTIFICATE oF sERvICE

 

l hereby certify that on November 20, 2015, a copy of
the foregoing document was served electronically on the
following:

David K. Gross
Mara E. Michaletz

OLES MORRISON RINKER & BAKER LLP

s/Barat M. LaPorte

4817-2651-2427, v. l

Defendants ’ Motion to Dismiss Certal`n Pathjinder Aviation, Inc. v.
Counts Pursuant to FRCPIZ(b)(6) and to XTO Energy Inc., et al.
Strike Prayer for Punitive Darnages Case No. 3:15-cV-00200-HRH
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